Case 1:14-cv-22877-JAL Document 10 Entered on FLSD Docket 08/26/2014 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                      CASE NO. 1:14cv22877-CIV-LENARD/GOODMAN


 INTERNATIONAL VAPOR GROUP, INC.
 and NICOLAS MOLINA

        Plaintiff,

 v.

 ALLAN ROTHSTEIN.

       Defendant.
 _______________________________________/

            DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS AND
                   CORPORATE DISCLOSURE STATEMENT


        Defendant hereby submits this Certificate of Interested Persons and Corporate Disclosure

 Statement in accordance with the Court’s August 11, 2014 Order [DE 3] and F.R.C.P. 7.1 and

 states as follows:

        In addition to the named parties, undersigned counsel for Defendant states that the

 following persons, associated persons, firms, partnerships, and/or corporations may have a

 financial interest in the outcome of this case:



        1. Persons:
           Nicolas Molina,
           David Herrera
           David Epstein.

            *The IVG Shareholders disclosed by Plaintiffs’ Certificate [DE 8]




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Case 1:14-cv-22877-JAL Document 10 Entered on FLSD Docket 08/26/2014 Page 2 of 2




        2. Any and all corporations, firms etc..:

            The corporations, subsidiaries and affiliates identified by Plaintiffs’ Certificate [DE
            8]

            VAPOR CORP.
            IVGI Acquisitions, Inc.

                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was electronically filed on August 25, 2014,
 with the Clerk of Court using CM/ECF and served via CM/ECF to all counsel of record.

                                              By: /s/ Celeste B. Marcks


                                         SERVICE LIST

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                                              Respectfully submitted,
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